                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

SMITHWAY MOTOR XPRESS, INC.,                      )
WESTERN EXPRESS, INC., and                        )
NATIONAL CASUALTY COMPANY,                        )
                                                         Case No.
       Plaintiffs,                                )
                                                         JURY DEMAND
v.                                                )

JAMES A. SCOTT & SONS, INC., individually,)
and d/b/a SCOTT TRANSPORTATION            )
SERVICES and d/b/a SCOTT                  )
TRANSPORTATION and d/b/a SCOTT            )
INSURANCE; and REGIONS INSURANCE,         )
INC., individually, and d/b/a INSURISK    )
EXCESS AND SURPLUS LINES,                 )

       Defendants.

                                 NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, the Defendant, Regions Insurance, Inc.

("Regions Insurance"), respectfully submits this Notice of Removal, and states as follows in

support thereof:

       A.      The State Court Action.

       On September 17, 2012, the Plaintiffs, Smithway Motor Express, Inc., Western Express,

Inc., and National Casualty Company (collectively the "Plaintiffs") filed a Complaint against

Regions Insurance and James A. Scott & Sons, Inc. (collectively the "Defendants"), in the

Circuit Court for Davidson County, Tennessee, styled Smithway Motor Express, Inc., Western

Express, Inc., and National Casualty Company v. James A. Scott & Son, Inc. individually, and

d/b/a Scott Transportation Services and d/b/a Scott Transportation and d/b/a Scott Insurance;

and Regions Insurance, Inc. individually, and d1b/a Insurisk Excess and Surplus Lines, Docket




      Case 3:12-cv-01063 Document 1 Filed 10/17/12 Page 1 of 4 PageID #: 1
No. 12-C-3728. Regions Insurance was served with the Complaint on September 17, 2012. A

copy of all the process, pleadings and orders which have been filed in this action are attached

hereto as Collective Exhibit A. The Defendants have not yet filed an Answer or otherwise

responded to the Complaint.

       B.      Timeliness of Removal

       This removal is timely. This removal is being filed within thirty (30) days of the

Defendants' receipt of the Complaint and is therefore timely under 28 U.S.C. § 1446(b).

       C.      Diversity Jurisdiction

       This action is within the original jurisdiction of the District Court pursuant to 28 U.S.C. §

1332. Section 1332 provides, in pertinent part, that "[t]he district courts shall have original

jurisdiction of all civil actions where the matter in controversy exceeds the sum or value of

$75,000, exclusive of interest and costs, and is between ... citizens of different States." 28

U.S.C. § 1332(a)(1). This action satisfies both statutory requirements.

       1.      The Amount in Controversy Exceeds $75,000

       In the Complaint, the Plaintiffs seek monetary damages "in excess of one million dollars

($1,000,000.00). (See Exhibit A, Complaint, ¶¶ 56, 80, 106 and 131)..

       2.      There is Diversity of Citizenship between the Plaintiffs and the Defendants

       There is complete diversity between the parties. As noted in the Complaint:

            a. Smithway is a corporation organized under the laws of the State of Iowa;

            b. Western Express is a corporation organized under the laws of the State of
               Tennessee;

            c. NCC is an Arizona Company;

            d. Scott is a corporation organized under the laws of the Commonwealth of Virginia;
                and




      Case 3:12-cv-01063 Document 1 Filed 10/17/12 Page 2 of 4 PageID #: 2
            e. Regions Insurance is a corporation organized under the laws of the State of
                Arkansas.

       As a result of the foregoing, there is complete diversity between all named Plaintiffs and

all named Defendants, and no Defendant is a citizen of the forum state. As a result, there is

diversity of citizenship in this matter for purposes of 28 U.S.C. § 1332.

       D.      Notice to State Court and Plaintiff

       Also, contemporaneous with the filing of this Notice, Regions Insurance has provided

written notice to the Plaintiffs and have filed a notice of this removal with the Circuit Court for

Davidson County, Tennessee.

       E.      Conclusion

       Wherefore, this action should proceed in the United States District Court for the Middle

District of Tennessee, as an action properly removed thereto.


                                              Respectfully submitted,


                                              BUTLER, SNOW, O'MARA,
                                              STEVENS & CANNADA, PLLC
                                                                1
                                              Kevin C. Baltz (#22669)
                                              1200 One Nashville Place
                                              150 Fourth Avenue, North
                                              Nashville, Tennessee 37219-2433
                                              (615) 503-9100

                                              Attorneys for Regions Insurance, Inc.




      Case 3:12-cv-01063 Document 1 Filed 10/17/12 Page 3 of 4 PageID #: 3
                                   CERTIFICATE OF SERVICE

        I hereby certify that a true and exact copy of the foregoing has been forwarded, via hand-
delivery, on this I7 day of October, 2012, to the following:

                    Roland M. Lowell
                    7135 Centennial Place
                    Nashville, Tennessee 37209

                    James A. Scott & Sons, Inc.
                    Corporation Service Company
                    2908 Poston Avenue
                    Nashville, Tennessee 37203
                                                      'lam• c   ?C,,9,t '
                                                     Kevin C. Baltz
ButlerSnow 1 42442 74v I




       Case 3:12-cv-01063 Document 1 Filed 10/17/12 Page 4 of 4 PageID #: 4
